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                                                                                                     United States District Court
                                                                                                       Southern District of Texas

                                                                                                          ENTERED
                                                                                                        January 21, 2021
                              UNITED STATES DISTRICT COURT
                                                                                                       Nathan Ochsner, Clerk
                               SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

ALLIED FITTING LP,                                        §
                                                          §
            Plaintiff,                                    §
VS.                                                       §    CIVIL ACTION NO. 4:20-CV-3447
                                                          §
STEPTOE & JOHNSON LLP                                     §
and                                                       §
THOMAS J. TRENDL                                          §
and                                                       §
GREGORY S. MCCUE,                                         §
                                                          §
            Defendants.                                   §

                                  MEMORANDUM AND ORDER

         Before the Court is the defendants’, Steptoe & Johnson, LLP, and Thomas J.

Trendl, motion to dismiss the plaintiff’s, Allied Fitting, LP, suit pursuant to

Federal Rules of Civil Procedure, Rule 12(b)(2) [DE 8]. Also, before the Court is

the plaintiff’s response [DE 14], and the parties’ exhibits and pleadings, all of

which the Court has examined for purposes of addressing the defendants’ motion.

II.      BACKGROUND

         The defendants’ motion to dismiss is based on the claim that this Court lacks

personal jurisdiction1 over the defendants because the plaintiff cannot establish the

requisite “minimum contacts” with Texas such that the defendants could have

anticipated being sued in Texas. See Fed. R. Civ. P., Rule 12(b)(2). ); see also
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 Although the defendants’ motion addresses both personal and general jurisdiction, the plaintiff seeks to establish
only personal jurisdiction. Therefore, the Court addresses only the issue of personal jurisdiction.


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Wien Air Alaska, Inc., v. Brandt, 195 F.3d 208, 215 (5th Cir. 1999). This finding is

necessary for a Court to exercise personal jurisdiction over a defendant, otherwise,

the exercise offends “traditional motions of fair play and substantial justice.” See

Daimler AG v. Bauman, 571 U.S. 117, 126 (2014).

       The plaintiff asserts legal malpractice as the bases for its suit, contending

that the defendants engaged in professional negligence, breach of contract and

breach of fiduciary duty. The plaintiff advertises that it is a “worldwide leader in

the manufacture and distribution of critical application fittings, flanges, valves,

pipe and related industry parts.” Many of the plaintiff’s products are made outside

the United States and are imported into the Country. As a result, the plaintiff is

required to comply with regulations and processes that apply to imported goods.

The United States Department of Commerce and United States Customs and

Border Protection are charged with overseeing imported goods and insuring

compliance with federal statues and regulations.

       Among the duties that the federal agencies are charged with enforcing, are

statutes and regulations against United States companies that seek to gain unfair

trade advantage when a foreign company or government artificially lowers its price

for a product, or subsidizes a product in order to gain an unfair advantage in the

market.   To avoid being out of compliance and/or guard against a domestic




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competitor engaging in unsavory conduct, companies, like the plaintiff, employ the

services of international law firms who offer expert services in the area.

       On or about July 9, 2016, a partner in the defendant law firm solicited work

from the plaintiff, offering to provide assistance regarding a recently filed “anti-

dumping and countervailing investigation” on certain steel flanges from India, Italy

and Spain. Over a period of several weeks, the plaintiff and defendants reached an

agreement and entered into a contract for services that included “trade advice and

analysis on antidumping matters.”

       In August 2016, an employee in the defendant firm traveled to Texas, met

with the plaintiff, primarily concerning its operations in Italy. Risks and exposure

were the main topics discussed and the services provided were invoiced and paid.

The contractual relationship continued until May 2017, when the plaintiff became

the subject of an inquiry filed by domestic competitors who claimed foul against

the plaintiff concerning carbon steel butt-weld pipe fittings from China. The

defendants successfully defended the plaintiff and the plaintiff received a refund of

some $9 million of the $15 million that it had deposited pursuant to federal

regulations. The plaintiff did not receive the $6 million that was being held by

Customs at the time.

       The inquiry concerning the steel-butt weld pipe fittings that the plaintiff

acquired from Pantech Steel Industries, a Malaysian company, required the



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plaintiff to deposit $6 million of the $15 million with Customs. After the plaintiff

received refunds of $9 million, it inquired of the defendant whether the remainder

of $6 million would be forthcoming only to learn that the period for seeking a

refund had passed.

III.    CONTENTIONS OF THE PARTIES

        A.    The Plaintiff’s Contentions

        The plaintiff contends that starting in 2018, the defendant counseled with it

on the Pantech/Malaysian matter. The inquiry, was opened as a new matter in

December of 2017, but lay dormant until the China inquiry was resolved. When

the China inquiry heated up in 2018, the defendant invoiced for those services as

well as for the Pantech/Malaysian inquiry.         This service and invoice trend

continued into 2020.

        The plaintiff asserts that at no time during the exchange of emails, billings,

phone calls or face-to-face meetings in Texas did the defendant advise the plaintiff

regarding the deadline by which a request for the $6 million deposit with Custom

must be made. The plaintiff asserts that the number of contacts, visits to Texas and

the engagement are sufficient contacts for the Court to assert specific personal

jurisdiction over the defendants.




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           B.        The Defendants’ Contentions

           The defendants contend that the plaintiff’s lawsuit should be dismissed,

pursuant to FRCP 12(b)(2), because:                             (a) the plaintiff cannot show that the

defendants purposefully availed themselves of the benefits of Texas law;

alternatively, to exercise personal jurisdiction over the defendants would offend

“traditional notions of fair play and substantial justice”; (b) the defendants have not

had sufficient minimum contact with Texas for the Court to exercise general

jurisdiction over the defendants, i.e., no “continuous and systematic” contacts2;

and, (c) as it concerns specific jurisdiction, the plaintiff cannot show that the

dispute is related to Texas as all activities were performed in Washington, D.C.

Hence, the defendants conclude, the mere existence of an engagement letter is

insufficient to subject a nonresident to forum jurisdiction. Moreover, in light of the

fact that the engagement letter includes a choice-of-law and jurisdiction clause

regarding contractual disputes, dismissal is, moreso, appropriate.

IV.        ANALYSIS AND DISCUSSION

           The Court is of the opinion that it lacks personal jurisdiction over the

defendants. Therefore, the case should be dismissed pursuant to Fed. R. Civ. P.,

Rule 12(b)(2). Barring a rule or statutory basis for the exercise of jurisdiction over

a defendant, a federal court may dismiss a defendant who is not, otherwise, subject


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    The Court does not address general jurisdiction because the plaintiff has not asserted jurisdiction on that basis.


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to the Court’s jurisdiction. Id. In those instances where a Court determines that

sufficient contacts with the forum state exists, and that it may exercise jurisdiction,

a court must determine whether the exercise of jurisdiction violates the “due

process” clause of the Fourteenth Amendment to the federal Constitution.

       The burden rests on the plaintiff, first to establish that the defendants’

contacts with Texas constitute “minimum contacts”, i.e., that the defendants have

purposefully received benefits and protections of the State; and next, whether the

exercise of jurisdiction “offend(s) traditional notions of fair play and substantial

justice.” Burger King Corp. v. Rudzewicz, 471 U.S. 462, 474 (1985); Clemens v.

McNamee, 615 F.3d 374, 378 (5th Cir. 2010).

       A.    The Plaintiff’s Restatement

       The plaintiff asserts that its proffers satisfies its minimum contact –

purposeful availment burden. The plaintiff points to proffered exhibits A, A-1

through A-17 and Exhibit B. These exhibits include a description of the nature of

the plaintiff’s business and products; an email solicitation by the defendants

offering legal and other professional services, and an offer to meet with plaintiff in

Houston, Texas; a scope of work document; itemized invoices for services

rendered starting in 2016-17, including an analysis of risk and exposure from a

potential anti-dumping and countervailing duty petition;                evidence of

communications between the parties regarding the Department of Commerce



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determination; an email instructing the defendant to open a new account

specifically regarding the Pantech/Malaysian matter; and, notice of the Department

of Commerce’s preliminary determination.

       In addition the plaintiff points to frequent and consistent telephone and email

contacts with the plaintiff in Texas and two, in-person, visits by a non-lawyer

employed by the defendant law firm to the plaintiff’s Houston offices where, on at

least one occasion the Pantech/Malaysian anti-circumvent matter was discussed.

       Further proof of the defendants’ numerous engagements in the matter,

asserts the plaintiff, is reflected in the defendants’ numerous invoices to the

plaintiff that have been paid. At least three-fifth (3/5) of the defendants’ invoices

involved the Pantech/Malaysian matter. All said, the plaintiff asserts that the

defendant, its agent(s) and employee(s) consistently corresponded with the plaintiff

in Texas and, therefore, Texas is the site of its inquiry.

       B.    The Defendants’ Rejoinder

       The defendants do not deny that the activities described by the plaintiff

occurred. Instead, they deny that the activities establish a sufficient nexus of the

type contemplated by law that permits subjecting a non-resident defendant, such as

the defendants, to the jurisdiction in Texas. In this regard, the defendants point out

that: (a) the dispute between the parties was borne out matters that arose in and

were handled in Washington, D.C.; (b) the defendants did no work concerning the



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engagement in Texas; and, (c) all of the work, out of which the dispute arises,

occurred in Washington, D.C.

          In addition, the defendant points to the language in the engagement letter

which addresses the enforcement of its terms.         Specifically, the “Choice of

Law/Jurisdiction” portion of the letter states that its terms “. . . shall be governed

by, construed in accordance with, and enforced pursuant to the laws of the District

of Columbia . . .. The client consents to the jurisdiction of the District of Columbia

. . .”

V.        CONCLUSION

          The evidence is undisputed that the defendant did not perform any of the

terms of the contract in Texas. Aside from two meetings that focused, as best the

Court can tell, on updates and the progress of matters pending in Washington, there

were no contacts with Texas. Contracting to render a service outside the forum

state does not constitute the necessary contact. See Moncrief Oil Int’l Inc. v. OAO

Gazprom, 481 F.3d 309, 311 (5th Cir. 2007). The same is true for written and

telephone communications. Engaging in email and telephone communications,

even providing in-person updates on the status of the parties’ engagements, do not

meet the minimum contacts standard necessary for this Court to exercise personal

jurisdiction over the defendants. See Trinity Indus., Inc., v. Myers & Assocs., Ltd.,




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451 F.3d 229, 238 (5th Cir. 1995). The plaintiff’s proof fails to establish minimum

contact.

       The Court is also of the opinion that it is constrained by the Choice of

Law/Jurisdiction clause in the engagement. It unequivocally states . . . “[T]he

Client consents to the jurisdiction of the District of Columbia . . . The strength of

the clause is beyond simple peroration. It clearly states that the plaintiff consents

to the jurisdiction of the District of Columbia.

       Finally, the Court determines that the plaintiff’s suit does not arise or relate

to activities that the defendant purposefully directed at Texas. In fact, the injuries

that the plaintiff claim arose out of or relate to activities that occurred, or failed to

occur, in Washington, D.C. See Clemons v. McNamee, 615 F.3d 374, 378 (5th Cir.

2010). Nexus is established by the activities that a non-resident engages in or

performed in the forum state. Id. at 379.

       Based on the foregoing analysis and discussion, the Court determines that

the defendants’ motion to dismiss should be granted.

       It is so Ordered.

       SIGNED on this 21st day of January, 2021.


                                            _________________________________
                                            Kenneth M. Hoyt
                                            United States District Judge




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